        Case 6:03-cr-00018-JRH-CLR Document 139 Filed 01/14/09 Page 1 of 2

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                            UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF GEORGIA                             7t7? JAfl j14 A1 fl: Q5


                                   STATESBORO DIVISION                           C
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UNITED STATES OF AMERICA                      )
                                              )
                                              )
                                              )       SUPERSEDING
STEPHEN FERGUSON                              )       INDICTMENT NO. CR603-00018-OO1


                                             ORDER

       On September 16, 2003, Defendant pled guilty to distribution of 5 grams of more of cocaine

base and possession of a firearm by a convicted felon. During the sentencing hearing on

November 18, 2003, the Court adopted a guideline range of 235 to 293 months. Prior to sentencing,

the Government filed a U.S.S.G. § 5Kl .1 motion, in which it characterized Defendant's assistance

as "extraordinary," and in which the prosecuting attorney noted that he had never before "had so

many successful cases made by one defendant's cooperation." In recognition of the exceptional

quality of Defendant's assistance to the Government, the Court, pursuant to the § 5K1 .1 motion,

downwardly departed to a custodial sentence of 160 months.

       The Government has now filed a Rule 35 motion, in which it describes "very significant"

assistance that Defendant has given the Government since his sentencing hearing. The Court

acknowledges that Defendant has been very helpful to the Government for some time; however,

given Defendant's criminal history and his previous false representations to the Court, as specified

below, a further sentence reduction does not sit well with the Court.

       The Court vividly recalls that during Defendant's Rule 11 hearing, the Court questioned

Defendant at length about his status as an American citizen, and Defendant insisted that, although
        Case 6:03-cr-00018-JRH-CLR Document 139 Filed 01/14/09 Page 2 of 2

born in the Bahamas, he was at that time an American citizen, had been for several years, and had

the "paperwork" to prove it. Defendant later testified during the trial of his codefendant that

Defendant was an American citizen. All of these claims proved completely untrue. While the

Government, prior to Defendant's sentencing, characterized Defendant's claims in this regard as

"misstatements" attributable to "some level of misunderstanding. . .willful blindness and wishful

thinking," the Court knows better.

       The Court acknowledges that an obstruction of justice enhancement was applied in

Defendant's sentencing guidelines calculations with respect to Defendant's lie to the Court. And,

clearly arid appropriately, the Court did not allow Defendant's obstructive conduct to influence its

downward departure decision at sentencing, as the Court's departure was decidedly generous. The

Court also recalls, however, that Defendant's criminal history is particularly egregious. At the time

of sentencing, in fact, Defendant, then age 32, had amassed six previous felony convictions, nearly

all of which involved drug distribution or violence.

       The Court cannot lose sight of the tct that Defendant's exceptional ability to assist the

Government stems from his exceptional exposure to and participation in very serious criminal

activities for many years. Despite the quality of Defendant's continued assistance to the

Government, which Defendant delivers in a suspiciously piecemeal fashion, a further reduction to

Defendant's sentence would not, in the Court's opinion, sufficiently protect the public, reflect the

seriousness of the offense, promote respect for the law, or provide just punishment for the offense.

The Court will afford this Defendant no further generosity.

       Based on the foregoing, the Court hereby DENIES the Government's Rule 35 motion.

       SO ORDERED, this LV day of January, 2009.

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                                                       United States Dirict Judge
                                                       For the Southern District of Georgia
